Case 19-00730-5-JNC    Doc 640 Filed 01/03/20 Entered 01/03/20 13:57:40        Page 1 of 4




                   UNITED STATES BANKRUPTCY COURT
                  EASTERN DISTRICT OF NORTH CAROLINA
                         GREENVILLE DIVISION

 IN RE:                                    )
                                           )           Case No. 19-00730-5-JNC
 CAH ACQUISITION COMPANY #1,               )
 LLC, d/b/a WASHINGTON COUNTY              )           Chapter 11
 HOSPITAL, et al.                          )
                                           )
             Debtors.                      )
 __________________________________________)

                         AMENDED NOTICE OF MOTION

       TO: Debtors, Attorneys for Debtors, Trustee, Attorneys for Trustees, and
 Parties of Interest

       NOTICE IS HEREBY GIVEN of the motion for an order compelling Debtors
 through Trustee to file returns and pay withholding taxes or be dismissed with
 prejudice [D.E. 630] filed on December 31, 2019 by the United States Attorney in the
 above-captioned case; and

       FURTHER NOTICE IS HEREBY GIVEN that this motion may be allowed
 provided no response and request for a hearing is made by the Debtors, or other
 parties in interest, in writing to the clerk of this Court within twenty-one (21) days
 from the date of this notice;

        FURTHER NOTICE IS HEREBY GIVEN that if a response and a request for
 a hearing is filed by the Debtors, or other parties in interest named herein in writing
 by the time indicated, a hearing will be conducted on the motion and response thereto
 at a date, time, and place to be later set by the Court, and all interested parties will
 be notified accordingly. If no request for a hearing is timely filed, the Court may rule
 on the motion and response thereto ex parte without further notice.




                                            1
Case 19-00730-5-JNC   Doc 640 Filed 01/03/20 Entered 01/03/20 13:57:40   Page 2 of 4




       Respectfully submitted this 3rd day of January, 2020.

                                ROBERT J. HIGDON, JR.
                                United States Attorney

                                /s/ Dennis M. Duffy
                                DENNIS M. DUFFY
                                Assistant United States Attorney
                                Attorney for IRS
                                150 Fayetteville Street, Suite 2100
                                Raleigh, NC 27601
                                Telephone: (919) 856-4530
                                Facsimile: (919) 856-4821
                                dennis.duffy@usdoj.gov
                                N.C. Bar No. 27225




                                         2
Case 19-00730-5-JNC    Doc 640 Filed 01/03/20 Entered 01/03/20 13:57:40      Page 3 of 4




                           CERTIFICATE OF SERVICE

       I do hereby certify that I have this 3rd day of January, 2020, served a copy of

 the foregoing upon the below-listed parties electronically and/or by placing a copy of

 the same in the U.S. Mail, addressed as follows:

       CAH Acquisition Company 1, LLC
       d/b/a Washington County Hospital
       958 U.S. Highway 64 East
       Plymouth, NC 27962

       CAH Acquisition Company 2, LLC
       d/b/a Oswego Community Hospital
       PO Box 953412
       Saint Louis, MO 63195

       CAH Acquisition Company 3, LLC
       d/b/a Horton Community Hospital
       PO Box 953296
       Saint Louis, MO 63195

       CAH Acquisition Company 6, LLC
       d/b/a I-70 Community Hospital
       PO Box 953241
       Saint Louis, MO 63195-3241

       CAH Acquisition Company 7, LLC
       d/b/a Prague Community Hospital
       PO Box 953446
       Saint Louis, MO 63195

       CAH Acquisition Company 12, LLC
       d/b/a Fairfax Community Hospital
       PO Box 955734
       Saint Louis, MO 63195




                                           3
Case 19-00730-5-JNC   Doc 640 Filed 01/03/20 Entered 01/03/20 13:57:40     Page 4 of 4




       CAH Acquisition Company 16, LLC
       d/b/a Haskell County Community Hospital
       PO Box 955745
       Saint Louis, MO 63195

       Served by CM/ECF system:

       Rayford K. Adams, III
       Attorney for Debtors

       Sam G. Bratton, II
       Attorney for Debtor CAH Acquisition Company 12

       Thomas W. Waldrep, Jr.
       Trustee

       Jason L. Hendren
       Attorney for the Trustee

                                     ROBERT J. HIGDON, JR.
                                     United States Attorney

                                     /s/ Dennis M. Duffy
                                     DENNIS M. DUFFY
                                     Assistant United States Attorney
                                     Attorney for IRS
                                     150 Fayetteville Street, Suite 2100
                                     Raleigh, NC 27601
                                     Telephone: (919) 856-4530
                                     Facsimile: (919) 856-4821
                                     dennis.duffy@usdoj.gov
                                     N.C. Bar No. 27225




                                        4
